Case 3:11-cv-02559-PGS-LHG Document17 Filed 04/11/12 Page 1 of 1 PagelD: 85

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Melvin Rivera, et al CIVIL 11-2559 (PGS)
V.

City of Trenton, et al ORDER

It appearing that proceedings in the above matter have

been stayed,

It is on this 10° day of April 2012,

ORDERED that the Clerk administratively terminate the action
in his records, without prejudice to the right of the parties to
reopen the proceedings for good cause shown for the entry of any
stipulation or order, or for any other purpose required to

obtain a final determination of the litigation.

Poe Mibc d

PETER G. SHERIDAN, U.S.D.J.
